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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

GRUVER ET AL                                                       CIVIL ACTION

VERSUS                                                             3:18-cv-00772-SDD-EWD

STATE OF LOUISIANA THROUGH THE
BOARD OF SUPERVISORS OF
LOUISIANA STATE ET AL


                              CLERK’S ENTRY OF DEFAULT



       Service having been executed on Daltin Babineaux on November 12, 2019, and no

answer, claim or other responsive pleadings having been filed;


       IT IS ORDERED the Plaintiff’s Motion for Entry of Default against Daltin Babineaux,

Defendant, be and is hereby GRANTED.


       Baton Rouge, Louisiana, this 13th day of February, 2020.


                                                    MICHAEL L. MCCONNELL
                                                    CLERK OF COURT



                                                    BY: _______________________
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                                                    Deputy Cl
                                                           Clerk
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cc: Daltin Babineaux
